Case 1:18-cv-11642-VM-VF Document 403 Filed 04/03/23 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                   04/03/2023

WAYNE BALIGA,
                                                   18 Civ. 11642 (VM)
                        Plaintiff,
                                                   ORDER
                  - against -

LINK MOTION INC., et al.

                        Defendants.


VICTOR MARRERO, United States District Judge.

     On March 16, 2023, the Court directed the parties to

meet-and-confer and submit a joint, stipulated proposed order

to modify the terms of the Order Appointing the Temporary

Receiver (“Receiver Order,” Dkt. No. 26.). (See Dkt. No. 400.)

The parties have submitted two competing versions of their

proposal for modifying the Receiver Order. (See Dkt. Nos.

401, 402.) As the parties have not been able to reach an

agreement   on   how   to   move   this   issue   forward,   the    Court

declines to modify the Receiver Order at this time. The

parties are directed to notify the Court should they reach a

compromise position in the future and to then file a joint

stipulation for the Court’s consideration.

SO ORDERED.

Dated:      3 April 2023
            New York, New York

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                                                 Victor Marrero
                                                    U.S.D.J.


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